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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       CASE NO. 21-CR-382 (PLF)
               v.                            :
                                             :
CHRISTOPHER WARNAGIRIS,                      :
                                             :
                      Defendant              :

                      GOVERNMENT’S OPPOSITION TO
               DEFENDANT’S MOTION FOR A BILL OF PARTICUALRS

       The Court should deny the defendant’s motion for a bill of particulars because it improperly

asks the Court to compel the government to provide a detailed exposition of its evidence and legal

theories, and because the information sought is available to the defendant in the government’s

discovery and other sources.

       I.      STATEMENT OF FACTS
       Defendant Warnagiris traveled from Woodbridge, Virginia to Washington D.C. on January

6, 2021. Defendant made his way to the Capitol building grounds and eventually to the Columbus

Doors area. Although United States Capitol Police (“USCP”) officers attempted to keep the

growing crowd from entering the building, at approximately 2:24 pm, Defendant successfully

pushed himself through the Columbus Doors and into the Rotunda Lobby, becoming the first

person to breach that specific entrance. As police officers continued their attempts to keep people

out of the building, Defendant held the Columbus Doors open and helped pull people inside despite

attempts by USCP Officer A.W. to stop him from doing so. Instead, Defendant instead pushed

back on the officer and used his body to keep the door open for more rioters to enter.

       Defendant then left area, entered the Rotunda, and proceeded directly to the main entrance

to the Chamber of the House of Representatives. Once there, he moved to the front of a large crowd

of rioters attempting to access the House floor. After spending approximately twenty minutes
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outside the House Chamber, Defendant returned to the Rotunda where he actively resisted attempts

by police officers to remove him and other rioters from the area. The officers, however, eventually

pushed him out to the Rotunda Lobby at approximately 3:30 p.m. In the lobby, police officers from

multiple agencies corralled rioters to move them out of the building. Defendant continued to evade

officers until he was one of the last rioters that officers removed from this area inside the Capitol

at approximately 3:36 p.m.

       The Defendant was charged in a Second Superseding Indictment on March 22, 2023, with,

among other charges, the following:


                                          COUNT ONE

On or about January 6, 2021, within the District of Columbia, CHRISTOPHER WARNAGIRIS,
committed and attempted to commit an act to obstruct, impede, and interfere with a law
enforcement officer, that is, Officer A.W., an officer from the United States Capitol Police,
lawfully engaged in the lawful performance of his official duties incident to and during the
commission of a civil disorder which in any way and degree obstructed, delayed, and adversely
affected commerce and the movement of any article and commodity in commerce and the conduct
and performance of any federally protected function.


       (Civil Disorder and Aiding and Abetting, in violation of Title 18, United States Code
       Section 23l(a)(3)



                                          COUNT TWO

On or about January 6, 2021, within the District of Columbia and elsewhere, CHRISTOPHER
WARNAGIRIS, attempted to, and did, corruptly obstruct, influence, and impede an official
proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of the
Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United
States and 3 U.S.C. §§ 15-18.

       (Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
       18, United States Code, Sections 1512(c)(2) and 2)
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                                        COUNT THREE

On or about January 6, 2021, within the District of Columbia, CHRISTOPHER WARNAGIRIS,
did forcibly assault, resist, oppose, impede, intimidate, and interfere with an officer and employee
of the United States, and of any branch of the United States Government (including any member
of the uniformed services), and any person assisting such an officer and employee, that is, Officer
A.W., an officer from the United States Capitol Police, while such officer or employee was
engaged in or on account of the performance of official duties, and where the acts in violation of
this section involve physical contact with the victim and the intent to commit another felony.

       (Assaulting, Resisting, or Impeding Certain Officers in violation of Title 18, United
       States Code, Sections 111(a)(1))

       II.     LEGAL ANALYSIS

       An indictment need only include “a plain, concise, and definite written statement of the

essential facts constituting the offense charged,” but a court may, in its discretion, “direct the

government to file a bill of particulars” clarifying the allegations in the indictment. Fed. R. Crim.

P. 7(c)(1), (f). A bill of particulars “ensure[s] that the charges brought against a defendant are

stated with enough precision to allow the defendant to understand the charges, to prepare a defense,

and perhaps also to be protected against retrial on the same charges.” United States v. Butler, 822

F.2d 1191, 1193 (D.C. Cir. 1987). It is not required, however, if the indictment “is sufficiently

specific, or if the requested information is available in some other form.” Id.; see United States v.

Lorenzana-Cordon, 130 F. Supp. 3d 172, 179 (D.D.C. 2015) (denying motion for bill of particulars

and noting that the government had provided extensive discovery that “allows Defendants to

adequately prepare for trial”).

       A bill of particulars “is not a discovery tool or a devise for allowing the defense to preview

the government’s theories or evidence.” United States v. Ramirez, 54 F. Supp. 2d 25, 29 (D.D.C.

1999); see also United States v. Brodie, 326 F. Supp. 2d 83, 91 (D.D.C. 2004) (same). Rather, a

bill of particulars “is intended to give the defendant only that minimum amount of information

necessary to permit the defendant to conduct his own investigation and not to provide the defendant
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with the fruit of the government’s investigation.” United States v. Sanford Ltd., 841 F. Supp. 2d

309, 316 (D.D.C. 2012) (internal quotation marks and citation omitted, emphasis in original).

Therefore, a bill of particulars “properly includes clarification of the indictment, not the

government’s proof of its case.” United States v. Martinez, 764 F. Supp. 2d 166, 173 (D.D.C.

2011) (internal quotation marks and citation omitted); United States v. Savoy, 889 F. Supp. 2d 78,

115 (D.D.C. 2012) (same); see also United States v. Taylor, 17 F. Supp. 3d 162, 178 (E.D.N.Y.

2014) (bill of particulars “may not be used by the defense as a fishing expedition or to force the

government to reveal all its evidence before trial”).

       Applying this principle, judges in this district have consistently denied motions for a bill

of particulars where, as here, the motion seeks details about the nature of the government’s

evidence. Thus, for example, in United States v. Han, 280 F. Supp. 3d 144, 149 (D.D.C. 2017),

the court denied a motion for a bill of particulars requesting information about the basis for fraud

and tax charges against the defendant, including the precise representations allegedly made by the

defendant and the amount of taxes allegedly owed. The Court explained that the requested

information had already been provided to the defendant in discovery and elsewhere, and a “bill of

particulars is meant to allow a defendant to properly prepare for trial, not provide a method to force

the prosecution to connect every dot in its case.” Id.

       Similarly, in Brodie, the Court denied a motion for a bill of particulars requesting “the

circumstances surrounding the alleged acts” of fraud committed by the defendants as well as “other

evidentiary details.” 326 F. Supp. 2d at 92. The Court reasoned that the charges set forth in the

indictment were “detailed and alleged with particularity” and “the discovery provided by the

government has been voluminous,” and therefore there was “no reason for any further

particularization of the overt acts.” Id.
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       Finally, in Sanford Ltd., the Court denied a motion for a bill of particulars regarding the

“substance, time, place and date” of allegations regarding falsification of records and other charges

against a corporate defendant. 841 F. Supp. 2d at 315. The Court explained that “the general rule

in conspiracy cases is that the defendant is not entitled to obtain detailed information about the

conspiracy in a bill of particulars.” Id. at 317 (internal quotation marks and citation omitted).

Accordingly, the Court denied the defendant’s request for information about the identities of its

employees alleged to have participated in the conspiracy and other details about the overt acts

charged in the indictment. Id. at 317-18.

       III.    ARGUMENT

       Here, the defendant seeks a bill of particulars to provide three categories of information:

(1) additional detail regarding the defendant’s actions, (2) the manner and specific circumstances

under which the acts were committed, and (3) a specific time frame. ECF No. 63 at 2. The

defendant claims that the bill of particulars is necessary because, according to him, the indictment

is insufficient to prepare for trial. These claims do not hold for several reasons.

       First, the indictment provides sufficient detail outlining the allegations against Defendant.

See Mejia, 448 F.3d 436, 445 (D.C. Cir. 2006) (no bill of particulars required where the

superseding indictment identified, among other things, the object of the charged conspiracy, the

conspiracy’s “time period,” the applicable mens rea, and locations where conspirators acted). The

language of Counts One, Two, and Three all clearly and plainly state the: day of the alleged crime,

the mens rea, and the actus reus. 1 Furthermore, Counts One and Three identify the specific victim

while Count Two identifies the specific proceeding with which the Defendant interfered. Along


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  In Count One, the actus reus is obstructing, impeding, and interfering with law enforcement. In
Count Two, the actus reus is obstructing, impeding, and influencing. In Count Three, the actus
reus is forcibly assaulting, resisting, opposing, impeding, intimidating, and interfering with a law
enforcement officer.
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with providing a specific date for the alleged conduct, the second superseding indictment language

tracks closely with that of the applicable statutes.

       Despite the clear language, Defendant seeks a detailed recitation of how the government

plans to prove its case. That is not the point of an indictment or bill of particulars. Rather, a bill

of particulars “is intended to give the defendant only that minimum amount of information

necessary to permit the defendant to conduct his own investigation and not to provide the defendant

with the fruit of the government’s investigation.” Sanford Ltd., 841 F. Supp. 2d at 316 (internal

quotation marks and citation omitted, emphasis in original). Defendant is not asking for

clarification of the indictment terms or clarification of the elements of the charges against him.

Rather, Defendant simply wants to know how the government is going to prove those allegations.

This is precisely the type of information—evidentiary proof not clarification—improperly sought

by a bill of particulars. Martinez, 764 F. Supp. 2d at 173.

       Warnagiris cites no authority for such a detailed bill of particulars. Furthermore, Defendant

ignores plethora of detailed information found in the statement of facts and discovery for his case.

The full scope of the conduct giving rise to the allegations in this case is recorded and has been

disclosed to defense. Defendant has copies of witness statements, videos, and still photos which

document his conduct (and the exact time of said activities) at the Columbus Doors. Defense also

has videos and still photos of the Defendant’s conduct at the House doors. All in all, the discovery

documents, in great and specific detail, his assaultive and obstructive behavior on January 6, 2021.

       IV.     CONCLUSION

       For the foregoing reasons, Defendant Warnagiris’ Motion for a Bill of Particulars, ECF

No. 63, should be denied.
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                             Respectfully submitted,



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